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                              Office of the Independent Monitors
                Berry et al. v. Brumley et al. (Civil Case No. 2:10-cv-04049)

                                        Fluency Plus, LLC
                                       215 N. Bolivar Ave
                                      Cleveland, MS 38732
                                      www.fluencyplus.com
                                   fluencyplusinfo@gmail.com
                                         (662) 843-2322


TO:            Joan Hunt, Chris Fruge, Maree Sneed, Paris Taylor
               Louisiana Department of Education (LDOE)

               Wayne T. Stewart
               Orleans Parish School Board (OPSB)

               Lauren Winkler, Neil Ranu, Christine Bischoff, Sophia Mire Hill
               Counsel for Plaintiff Class

FROM:          Dale Bailey, Ken Swindol, William Swindol
               Independent Monitors

DATE:          May 27, 2022

RE:            Final Report - spring 2020 follow-up monitoring report


Please find the final version of the Independent Monitor Status Report dated May 27, 2022
attached for your review. Following a brief introduction, the IMs provide a comprehensive
review of the targeted monitoring activities and corrective actions for the LEAs that required
follow-up, on-site targeted monitoring visits during the spring 2020 semester followed by
status of compliance judgments and recommendations. The Appendix includes all necessary
targeted monitoring documents from the follow-up visit.
